        Case 1:25-cv-00015-DKG          Document 4        Filed 01/14/25     Page 1 of 2




WENDY J. OLSON, Bar No. 7634
wendy.olson@stoel.com
ALAINA HARRINGTON, Bar No. 11879
alaina.harrington@stoel.com
STOEL RIVES LLP
101 S. Capitol Boulevard, Suite 1900
Boise, ID 83702
Telephone: 208.389.9000

LINDSAY C. HARRISON (pro hac vice forthcoming)
lharrison@jenner.com
JESSICA RING AMUNSON (pro hac vice forthcoming)
jamunson@jenner.com
RUBY C. GIAQUINTO (pro hac vice forthcoming)
rgiaquinto@jenner.com
SOPHIA W. MONTGOMERY (pro hac vice forthcoming)
smontgomery@jenner.com
JENNER & BLOCK LLP
1099 New York Avenue, NW, Suite 900
Washington, D.C. 20001
Telephone: 202.639.6000

Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

ST. LUKE’S HEALTH SYSTEM, LTD.,                     Case No. 1:25-cv-00015-DKG

                   Plaintiff,                       PLAINTIFF’S MOTION TO
                                                    CONSOLIDATE
       v.

RAÚL LABRADOR, Attorney General of the
State of Idaho,

                   Defendant.


       Pursuant to Federal Rule of Civil Procedure 42(a), Plaintiff St. Luke’s Health System,

Ltd., moves this Court for an order consolidating this action with United States v. Idaho, 22-cv-

0329-BLW, currently pending decision on appeal in the Ninth Circuit, Case Nos. 23-35440 and



PLAINTIFF’S MOTION TO CONSOLIDATE - 1
        Case 1:25-cv-00015-DKG        Document 4      Filed 01/14/25     Page 2 of 2




23-35450. This motion is supported by the memorandum filed herewith and by the record and

pleadings in this case.



DATED: January 14, 2025                        STOEL RIVES LLP



                                               /s/ Wendy J. Olson
                                               Wendy J. Olson
                                               Alaina Harrington


                                               JENNER & BLOCK LLP


                                               /s/ Lindsay C. Harrison
                                               Lindsay C. Harrison
                                               Jessica Ring Amunson
                                               Ruby C. Giaquinto
                                               Sophia W. Montgomery

                                               Attorneys for Plaintiff




PLAINTIFF’S MOTION TO CONSOLIDATE - 2
